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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

 HON. BENNIE G. THOMPSON, HON.
 KAREN R. BASS, HON. STEPHEN I.
 COHEN, HON. VERONICA ESCOBAR,
 HON. PRAMILA JAYAPAL, HON. HENRY
 C. JOHNSON, JR., HON. MARCIA C.                   Civil Action No. 1:21-cv-00400-APM
 KAPTUR, HON. BARBARA J. LEE, HON.
 JERROLD NADLER, HON. MAXINE
 WATERS, and HON. BONNIE M. WATSON
 COLEMAN, in their personal capacities,

       Plaintiffs,

 v.

 DONALD J. TRUMP, RUDOLPH W.
 GIULIANI, OATH KEEPERS, PROUD
 BOYS INTERNATIONAL, L.L.C.,
 WARBOYS LLC, and ENRIQUE TARRIO,

       Defendants,


                          DEFENDANT’S MOTION TO DISMISS
                          PLAINTIFFS’ AMENDED COMPLAINT

       Pursuant to FED. R. CIV. P. 12(b)(6), Defendant Rudolph W. Giuliani hereby files his

Motion to Dismiss Plaintiffs’ Amended Complaint [Doc. 11-1].

       Arguments in support of this Motion are set forth in the accompanying Memorandum of

Points and Authorities filed herewith.

       Defendant respectfully prays that the Court grant this Motion, in accordance with the

proposed order included herewith.

Date: May 26, 2021

                                          Respectfully submitted,

                                          By: /s/ Joseph D. Sibley IV




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                                            ATTORNEYS FOR RUDOLPH W. GIULIANI


                               CERTIFICATE OF SERVICE

       I hereby certify that on this 26th day of May, 2021, I electronically filed the foregoing
motion—together with the accompanying proposed order and memorandum of law—with the
Clerk of the Court using the CM/ECF system, which I understand to have caused service on all
counsel of record.


                                            /s/ Joseph D. Sibley IV
                                            Joseph D. Sibley IV




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